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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

DAVID FLEURY and ALVIN TURNER
individually and on behalf of similarly situated
individuals,

                         Plaintiffs,                             No. 20-cv-00390

                v.                                               Honorable LaShonda A. Hunt

UNION PACIFIC RAILROAD COMPANY, a                                Magistrate Jeffrey Cole
Delaware Corporation

                         Defendant.

                           DECLARATION OF BRENDAN DUFFNER

           I, Brendan Duffner, hereby aver, pursuant to 28 U.S.C. § 1746, that I have personal

   knowledge of all matters set forth herein unless otherwise indicated and would testify

   thereto if called as a witness in this matter.

           1.        I am an adult over the age of 18 and a resident of the state of Illinois.

           2.        I am an attorney at the law firm McGuire Law, P.C. I am licensed to practice

   law in the Northern District of Illinois. I am one of the attorneys representing Plaintiffs

   David Fleury and Alvin Turner in this matter. I am fully competent to make this Declaration

   and do so in support of Plaintiffs’ Motion for Reconsideration and for Leave to File

   Instanter (the “Motion”).

           3.        Co-Counsel Thomas Hanson’s Declaration attached as Exhibit A to the

   Motion accurately describes the circumstances leading up to Plaintiffs’ May 22, 2025

   filing. (Ex. A at ¶¶ 7-12). Mr. Hanson and I were responsible for finalizing Plaintiffs’

   documents prior to filing in conjunction with Loevy & Loevy support staff, who ultimately
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 filed the documents. I submit this Declaration to add information subject to my own

 personal knowledge.

           4.      On the evening of May 22, 2025, my Comcast Xfinity service underwent

 maintenance that interrupted internet service at my address such that I was required to

 utilize my cell phone hotspot—which is generally spotty and requires frequent

 reconnecting and which slowed my ability to review and complete the voluminous filings

 through CM/ECF alongside Mr. Hanson and Loevy & Loevy support staff. In particular,

 Plaintiffs’ Response to Defendant’s Motion for Summary Judgment was a large filing

 which included thirty-six (36) exhibits in addition to Plaintiffs’ Response to Defendant’s

 Statement of Material Facts. Ultimately, the Loevy support staff filed the finalized version

 with my permission using my CM/ECF credentials to do so following the internet

 connectivity issues I experienced. A copy of the communication to me from Comcast is

 attached hereto as Exhibit 1. 1

           5.      Prior to filing Plaintiffs’ Response to Defendant’s Motion for Summary

 Judgment, Mr. Hanson and I considered filing a motion for leave to file instanter with

 Plaintiffs’ brief, and a support member from Loevy & Loevy prepared an initial draft of

 this. Mr. Hanson and I elected not to review, edit, and file said motion, as not only would

 doing so have taken more time, we did not believe it necessary to do so in light of the

 Court’s comments at the December 19, 2024 hearing and the apparent lack of prejudice to

 Defendant.

           6.      In the course of preparing and finalizing Plaintiffs’ May 22 filings, I did not

 review or even download any of Defendant’s May 22, 2025 filings on the night of May 22



 1
     My home address is redacted in Exhibit 1.


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 or the morning of May 23. Nor did I cause any others to do so. To my knowledge, none of

 Plaintiffs’ counsel did either. In fact, as of the date and time of execution of this

 Declaration, I still have not reviewed or downloaded any of Defendant’s May 22, 2025

 filings as the day after the Parties’ filings were due (May 23, 2025) I left the country for

 planned international travel with my fiancé and her family and did not return until the

 evening on today, June 3.

           7.     I and the attorneys at McGuire Law do not take the Court’s Orders or its

 deadlines lightly and always endeavor to file documents on time—no matter how

 voluminous they are. I carefully considered and believed I was adhering to the Court’s

 prior comments with respect to deadlines and excessive motion practice throughout the

 evening of May 22 and the morning of May 23 and I sincerely apologize for any offense

 caused.

           I declare under the penalty of perjury that the foregoing is true and correct.

           Executed in Chicago, Illinois on June 4, 2025

                                                  /s/    Brendan Duffner




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